  Case 19-10888-KHK            Doc 8 Filed 03/24/19 Entered 03/25/19 00:25:19                         Desc Imaged
                                    Certificate of Notice Page 1 of 2
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Alexandria Division
                                             200 South Washington Street
                                                Alexandria, VA 22314


                                                             Case Number 19−10888−KHK
                                                             Chapter 13
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

    Mark Anthony Anderson
    1411 Admiral Drive
    Woodbridge, VA 22192
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−4725
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA


                                    NOTICE OF POSSIBLE DISMISSAL
                                              PURSUANT TO
                               LBR 1007−1 LISTS, SCHEDULES, STATEMENTS
                                                   AND
                              LBR 3015−2 CHAPTER 13 PLAN REQUIREMENTS

TO:           DEBTOR OR DEBTOR'S COUNSEL

You filed a petition with the Office of the Clerk of the United States Bankruptcy Court, Eastern District of Virginia,
on March 20, 2019. Pursuant to Local Bankruptcy Rule 1007−1 and 3015−2, please be advised that the following
document(s) are missing and must be filed within fourteen (14) days of the petition date.

Missing Documents Due: April 3, 2019

Failure to timely file the missing document(s) or to timely seek an extension of time, may result in the dismissal of
your bankruptcy case.

**Missing Document(s):

All Schedules and Statement of Financial Affairs
Summary of Your Assets and Liabilities and Certain Statistical Information
Statement of Your Current Monthly Income and Calculation of Commitment Period
Chapter 13 Plan
Attorney Fee Disclosure

                                                             William C. Redden
                                                             Clerk, United States Bankruptcy Court
Date: March 22, 2019
                                                             /s/ Elizabeth W. Douglass
                                                             Deputy Clerk

[10071_30152vAug2018.jsp]
        Case 19-10888-KHK               Doc 8 Filed 03/24/19 Entered 03/25/19 00:25:19                              Desc Imaged
                                             Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 19-10888-KHK
Mark Anthony Anderson                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: douglasse                    Page 1 of 1                          Date Rcvd: Mar 22, 2019
                                      Form ID: both215                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 24, 2019.
db             +Mark Anthony Anderson,   1411 Admiral Drive,   Woodbridge, VA 22192-2602

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 24, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 22, 2019 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
              Nathan A. Fisher   on behalf of Debtor Mark Anthony Anderson Fbarsad@cs.com, barsad@aol.com
              Thomas P. Gorman   ch13alex@gmail.com, tgorman26@gmail.com
                                                                                            TOTAL: 3
